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                    Exhibit B




1
      Case 1:20-cv-03388-EGS Document 55-3 Filed 06/16/22 Page 2 of 52




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MICHIGAN WELFARE RIGHTS
ORGANIZATION,
23 E. Adams Street, 4th Floor
Detroit, MI 48226;                       Case No. 1:20-cv-03388-EGS
NAACP,
4805 Mt. Hope Drive
Baltimore, MD 21215;

MAUREEN TAYLOR,
c/o NAACP Legal Defense &
Educational Fund, Inc.
40 Rector St., 5th Floor
New York, NY 10006;

NICOLE L. HILL,
c/o NAACP Legal Defense &
Educational Fund, Inc.
40 Rector St., 5th Floor
New York, NY 10006;

and TEASHA K. JONES,
c/o NAACP Legal Defense &
Educational Fund, Inc.
40 Rector St., 5th Floor
New York, NY 10006,

                       Plaintiffs,

v.

DONALD J. TRUMP,
President of the United States, in his
personal capacity,
1600 Pennsylvania Ave., NW
Washington, DC 20500;

DONALD J. TRUMP FOR
PRESIDENT, INC.,
725 5th Ave.
New York, NY 10022;                       [Caption Continued]




                                          1
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 and REPUBLICAN NATIONAL
 COMMITTEE
 310 First Street SE
 Washington, D.C. 20003,

                         Defendants.



                           SECOND AMENDED COMPLAINT
                     FOR DECLARATORY AND INJUNCTIVE RELIEF

                                         INTRODUCTION

        1.      In the aftermath of his loss in the 2020 presidential election, former President

Donald J. Trump, in his personal capacity, and Donald J. Trump for President, Inc. (“Trump

Campaign”) sought to overturn the result of the election by disenfranchising voters, in particular

voters of color in several major metropolitan areas. Former President Trump and the Trump

Campaign did this by attempting to slow and stop vote counting efforts in tightly contested states;

by pressuring state and local election officials not to certify election results, as required by law, or

to take other measures to overturn the will of the voters; and by raising baseless challenges to the

validity of ballots; and, on January 6, 2021, by inciting followers to use violence and the threat

of violence in and around the United States Capitol building to disrupt the Congress’

certification of the states’ electoral votes. Former President Trump’s and the Trump

Campaign’s efforts to undermine the 2020 election have not stopped, and they are planning

to take similar steps to interfere in upcoming elections. Although the Defendants’ actions were

thus far have been unsuccessful in overturning election results, they were and are designed to

disenfranchise hundreds of thousands of voters, including the individual Plaintiffs and the

Organizational Plaintiffs’ members and constituents, and they stand a real chance of doing so

unless Defendants are stopped.


                                                   2
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       2.      The Republican National Committee (“RNC”) has aligned itself with, and

contributed to, this effort. Throughout the 2020 election process, the RNC closely coordinated

with the Trump Campaign, notably through the “Trump Victory” project, a joint endeavor of the

RNC and the Trump Campaign. In the aftermath of outgoing former President Trump’s loss, the

RNC—and state Republican parties whose activities it oversees—endorsed and amplified baseless

allegations of voter fraud and intimidating messages about a stolen election and “taking the country

back,” and sought to block the certification of election results in key states. In February 2022,

the RNC censured two Republican representatives for participating in a House investigation

of the January 6, 2021 insurrection, and the RNC chair characterized investigating that

violent and bloody insurrection, which has resulted in multiple criminal convictions, as an

attempt to punish “legitimate political discourse.”

       3.      Defendants’ efforts to disenfranchise hundreds of thousands of voters—targeting

cities with large Black populations, including Detroit, Michigan, Milwaukee, Wisconsin,

Philadelphia, Pennsylvania, and Atlanta, Georgia—repeat the worst abuses in our nation’s history,

where Black Americans were denied a voice in American democracy for most of the first two

centuries of the Republic.

       4.      No more. The Voting Rights Act of 1965 (“VRA”) and the Ku Klux Klan Act

flatly prohibits prohibit Defendants’ efforts to disenfranchise voters. The Defendants’ efforts to

disenfranchise predominantly Black communities are an assault on the fabric of our Republic.

They must stop.




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                                  JURISDICTION AND VENUE

       5.      This Court has jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. § 1343 because

this matter involves federal questions under the Voting Rights Act and the Ku Klux Klan Act, and

because Plaintiffs seek injunctive relief to protect the right to vote.

       6.      Venue is proper in this district because a substantial part of the acts or omissions

giving rise to the claim occurred in this judicial district. 28 U.S.C. § 1391(b)(2).

                                              PARTIES

       7.      Plaintiff Michigan Welfare Rights Organization (“MWRO”) is a state chapter of

the National Welfare Rights Union that advocates for public assistance recipients and low-income

people. MWRO encourages community involvement and grassroots organizing to improve the

status of voters and conducts voter engagement efforts targeted at low-income voters of color

throughout the state of Michigan. MWRO has Black members who reside in Detroit in Wayne

County, Michigan, voted in the November 2020 election, and cast a ballot for President.

Defendants have sought to prevent the complete counting and certification of validly cast ballots

for President in Wayne County, and thereby sought to disenfranchise and disregard the lawfully

cast votes of the members of MWRO.

       8.      Plaintiff Maureen Taylor is a Black resident of Detroit in Wayne County, Michigan.

Plaintiff Taylor, who is over eighteen years old, voted in the November 2020 election and cast a

ballot for President. Defendants have sought to prevent the complete counting and certification of

validly cast ballots for President in Wayne County and thereby sought to disenfranchise and

disregard the lawfully cast votes of Plaintiff Taylor and other voters.

       9.      Plaintiff Nicole L. Hill is a Black resident of Detroit, Michigan. Plaintiff Hill, who

is over eighteen years old, voted in the November 2020 election and cast a ballot for President.



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Defendants have sought to prevent the complete counting and certification of validly cast ballots

for President in Wayne County and thereby sought to disenfranchise and disregard the lawfully

cast votes of Plaintiff Hill and other voters.

       10.     Plaintiff Teasha K. Jones is a Black resident of Detroit, Michigan. Plaintiff Jones,

who is over eighteen years old, voted in the November 2020 election and cast a ballot for President.

Defendants have sought to prevent the complete counting and certification of validly cast ballots

for President in Wayne County and thereby sought to disenfranchise and disregard the lawfully

cast votes of Plaintiff Jones and other voters.

       11.     Plaintiff NAACP is the nation’s largest and oldest civil rights grassroots

organization. Since its founding in 1909, the mission of the NAACP has been to ensure the

political, educational, social, and economic equality of all persons and to eliminate race-based

discrimination. The NAACP has fought in the courts for decades to protect the constitutional

guarantee of equal protection under law. To advance its mission, the NAACP has brought

landmark civil rights cases over its 111-year 113-year history and continues to do so. The NAACP

also has filed numerous amicus briefs in cases that significantly impact people of color.

       12.     The NAACP has state and local regional conferences or chapters representing 48

states, thousands of local units, and it has over 220,000 several hundreds of thousands of

members nationwide. The NAACP has members across the country who voted in the 2020 election

and who plan to vote in future elections, including in Michigan, Wisconsin, Pennsylvania, Georgia,

Arizona, and Nevada. Defendants have sought to prevent the complete counting and certification

of validly cast ballots for President by Plaintiff NAACP’s members and thereby sought to

disenfranchise and disregard the lawfully cast votes of Plaintiff NAACP’s members and other

similarly situated voters.



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        13.     Defendant Donald J. Trump is the outgoing former President of the United States,

who unsuccessfully sought a second term during the November 2020 presidential campaign. He is

sued in his personal capacity because the acts in question relate to his candidacy for a second term,

not to his official duties as President.

        14.     Defendant Donald J. Trump for President, Inc., is the campaign committee that

unsuccessfully sought to re-elect former President Trump in the November 2020 presidential

election.

        15.     The Republican National Committee is a political committee responsible for

developing, promoting, and implementing the Republican political platform, and for coordinating

fundraising and election strategy. As alleged more fully below, the RNC worked hand-in-hand

with Donald Trump and the Trump Campaign’s efforts in the November 2020 election, including

with respect to the acts alleged in this Complaint.

        16.     The RNC is responsible for the general management of the Republican Party and

oversees the activities of Republican state committees. State committee chairs are members of the

RNC.

        17.     As discussed in detail below, Defendants have acted in concert and violated the

VRA and the Ku Klux Klan Act while taking actions that directly put pressure on election

officials and volunteers, and encouraged their own volunteers and supporters, acting as their

agents, to do the same, in an effort to disenfranchise voters in predominantly Black cities.

                                     RELEVANT STATUTES

        18.     Section 11(b) of the Voting Rights Act (“Section 11(b)”) provides that: “No person,

whether acting under color of law or otherwise, shall intimidate, threaten, or coerce, or attempt to

intimidate, threaten, or coerce any person for voting or attempting to vote, or intimidate, threaten,



                                                 6
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or coerce, or attempt to intimidate, threaten, or coerce any person for urging or aiding any person

to vote or attempt to vote[.]” 52 U.S.C. § 10307(b). “Voting” is defined by the VRA as “all action

necessary to make a vote effective in any . . . election, including, but not limited to registration,

casting a ballot, . . . and having such ballot counted properly and included in the appropriate totals

of votes cast with respect to candidates for public or party office and propositions for which votes

are received in an election.” 52 U.S.C. § 10310(c)(1).

       19.     The Ku Klux Klan Act prohibits persons from conspiring to deny “either directly

or indirectly, any person or class of persons of the equal protection of the laws,” to “prevent[] or

hinder[] the constituted authorities of any State or Territory from giving or securing to all persons

within such State or Territory the equal protection of the laws,” or “to prevent by force,

intimidation, or threat, any citizen who is lawfully entitled to vote, from giving his support or

advocacy in a legal manner, toward or in favor of the election of any lawfully qualified person as

an elector for President or Vice President . . . of the United States.” 42 U.S.C. § 1985(3).

                                              FACTS

       20.     In violation of these statutory provisions, Defendants have attempted to undermine

confidence in the vote and to disenfranchise voters. Under the specter of preventing “fraud,”

Defendants have engaged in a conspiracy, executed through a coordinated effort, to disenfranchise

voters by , among other means, disrupting vote counting efforts, lodging groundless challenges

during recounts, and attempting to block certification of election results through intimidation and

coercion of election officials and volunteers. These systematic efforts – violations of the VRA and

the Ku Klux Klan Act – have largely been directed at major metropolitan areas with large Black

voter populations. These include Detroit, Milwaukee, Atlanta, Philadelphia, and others.

Defendants have not directed these efforts at predominantly white areas.



                                                  7
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      Defendants Have Violated The Voting Rights Act And the Ku Klux Klan Act By
      Intimidating Election Officials And Vote Tabulators While They Counted Votes

       21.      At approximately 2:30 a.m. on November 4, 2020, as ballot counting was still

underway in key states and trending in favor of then-President-Elect Joseph Biden, former

President Trump falsely declared that he had won the presidential election, insisting that: “This is

a fraud on the American public. This is an embarrassment to our country.” As explained in a news

account: “Trump’s election night claim of victory . . . . ha[d] been months in the making. As Trump

has trailed Biden in polls, he has sought to undermine faith in the multiday process of vote tallying,

and to lay the groundwork for insisting that the only valid election results were those tallied on

election night.”1

       22.      Defendants have engaged in an aggressive media campaign intended to undermine

the validity of the voting process, to disqualify legally cast ballots, and to shake the public’s

confidence in the election results, by claiming election results that did not favor former President

Trump were fraudulent. Through their messaging to volunteers, supporters, and the American

people, they attempted to intimidate election officials and tabulators into delaying and outright

stopping vote counts, and thereby disenfranchise voters and even well after the November 2020

presidential election have continued to pressure election officials to overturn the election

results.

       23.      For example, former President Trump has made numerous false public statements

claiming that President-Elect Biden’s victories in various battleground states (the result of ballots

counted late on election night or in the days after November 3) proved the election was being

“stolen” and damage had been done to the democratic process. As set forth below, the RNC and



1
 https://www.cnbc.com/2020/11/04/trump-tries-to-claim-victory-even-as-ballots-are-being-
counted-in-several-states-nbc-has-not-made-a-call.html.
                                                  8
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its members made similar false claims. Defendants also aggressively argued that mail-in ballots

received after polls closed should not be counted, notwithstanding state-specific election rules and

court orders that required states to count ballots received after polls closed. On November 15,

2020, former President Trump tweeted: “I WON THE ELECTION!”2 Three days later, on

November 18, 2020, he tweeted: “This was a rigged election. No Republican Poll Watchers

allowed, voting machine ‘glitches’ all over the place (meaning they got caught cheating!), voting

after election ended, and so much more!”3 The following quotes, which come directly from former

President Trump, are evidence of this campaign to disenfranchise voters and to undermine voter

confidence:

             a. “Frankly, we did win this election. So now our goal is to ensure the integrity, for
                the good of this nation . . . This is a major fraud on our nation.”

             b. “The damage has already been done[.]”

             c. “ANY VOTE THAT CAME IN AFTER ELECTION DAY WILL NOT BE
                COUNTED!”

             d. “IF YOU COUNT THE LEGAL VOTES, I EASILY WIN THE ELECTION! IF
                YOU COUNT THE ILLEGAL AND LATE VOTES, THEY CAN STEAL THE
                ELECTION FROM US!”4

       24.      Former President Trump pushed this messaging well into the weeks following the

election. For example, on Wednesday, November 18, 2020, he falsely stated that “[i]n Detroit,

there are FAR MORE VOTES THAN PEOPLE. Nothing can be done to cure that giant scam. I

win Michigan!”5 On November 11, 2020, he attacked Republican Philadelphia City Commissioner




2
  https://twitter.com/realDonaldTrump/status/1328200072987893762.
3
  https://twitter.com/realdonaldtrump/status/1329064787142172673?lang=en.
4
  https://www.washingtonpost.com/politics/2020/11/05/president-trumps-false-claims-vote-
fraud-chronology/.
5
  https://www.nbcnews.com/politics/2020-election/fact-check-trump-s-bogus-claim-more-votes-
detroit-people-n1248121.
                                                 9
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Al Schmidt, falsely asserting that the election in Philadelphia was characterized by a “mountain of

corruption & dishonesty. We win!”6 And his campaign promoted a false story about a woman

voting fraudulently near Atlanta.7

       25.     RNC Chairwoman Ronna McDaniel amplified these statements, publicly

questioning the integrity of the Michigan election results and alleging misconduct by Detroit

election officials.8 The RNC sent its supporters hundreds of emails after the election that

included false claims about the election until their email marketing firm determined such

claims increased “a risk of politically incited violence across the country.” 9

       26.     25.These and subsequent public statements and actions by Defendants encouraged

their volunteers and supporters to interfere with vote counts through harassment and intimidation.

       27.     26.In Wisconsin, for example, the Trump Campaign initiated a recount after

learning that President-Elect Biden defeated former President Trump by more than 20,000 votes.

The recount was not statewide; the Trump Campaign-initiated recount was limited to the two

counties in Wisconsin with the largest percentage of Black voters, covering the cities of Milwaukee

and Madison. The Trump Campaign did not identify any neutral justification for targeting its

recount request at only those two counties.




6
  https://twitter.com/realdonaldtrump/status/1326525851752656898;
https://apnews.com/article/joe-biden-donald-trump-politics-virus-outbreak-campaigns-
22665ea3884c47f883b416e4bd03bf54.
7
  See https://www.cnn.com/2020/11/18/politics/fact-check-georgia-dead-voter-deborah-jean-
christiansen/index.html.
8 https://www.michigan.gov/sos/0,4670,7-127-93094-544676--,00.html; https://www.freep.com/

story/news/politics/elections/2020/11/06/mcdaniel-claims-election-misconduct-michigan-
without-presenting-proof/6185731002/.
9 https://www.cbsnews.com/sanfrancisco/news/salesforce-says-it-has-taken-action-against-rnc-

email-campaign-that-falsely-claims-election-fraud/.
                                                10
       Case 1:20-cv-03388-EGS Document 55-3 Filed 06/16/22 Page 12 of 52




       28.     27.Trump Campaign observers at recount sites in Milwaukee engaged in behavior

that deliberately interfered with and slowed down recount efforts.

       29.     28.Trump Campaign observers encroached on physical spaces of vote tabulators to

observe the count and made verbal comments pressuring vote tabulators. One supporter of

former President Trump supporter leaned over observer boundaries and, upon a warning from a

vote tabulator, said “I know you don’t want us to see the ballots . . . You think we’ll find

something.”810 Other observers supporting former President Trump broke observation rules by

frequently interrupting vote counters, sometimes with harassing questions and comments.911

       30.     29.Some Trump Campaign observers engaged in other deliberate actions to delay

the recount by separately challenging every single ballot at a particular recount table.1012 As further

examples of bad-faith conduct, Trump Campaign observers also baselessly challenged absentee

ballots that tabulators folded in order to put them in envelopes and sought to disqualify mail-in

ballots where official stickers had become unstuck, even though such challenges are clearly

improper under Wisconsin law.1113

       31.     30.Some Trump Campaign observers went even further in their attempts to interfere

with the vote count through pressure and intimidation by becoming physically aggressive with

election volunteers. During the Milwaukee recount, for example, one Trump Campaign observer

had to be escorted from the recount site after pushing an election official.1214 This physical




810
    https://apnews.com/article/donald-trump-challenges-wisconsin-tally-
6f5b29d61b95754b0b5f311640136149.
911
    https://apnews.com/article/election-2020-joe-biden-donald-trump-wisconsin-elections-
dcb7da95578fc7289122c6d372575a9b.
1012
     https://apnews.com/article/donald-trump-challenges-wisconsin-tally-
6f5b29d61b95754b0b5f311640136149.
1113
     Id.
1214
     Id.
                                                  11
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aggression, similar to the encroachment on observer boundaries and rules, either attempted to

intimidate or resulted in intimidation of election officials and volunteers.

        32.     31.Rohn Bishop, the chairperson of the Republican Party of Fond du Lac County

Wisconsin, acknowledged that the “GOP strategy” in Wisconsin post-election was to

disenfranchise voters: “I’ve pushed back against Dem claims that we Repubs were trying to

disenfranchise people. Now here we are, trying to disenfranchise people.”1315

        33.     32.In other instances, supporters of former President Trump, encouraged by

Defendants’ rhetoric and calls to action, threatened violence against election officials and

volunteers. For example, during Georgia’s recount efforts, supporters of former President Trump

paraded past the Georgia Secretary of State’s personal residence and reportedly directed sexually

explicit threats to the Secretary’s wife.1416 On information and belief, Trump Campaign supporters

also threatened a Georgia election technician with a noose.1517 Similarly, after Wisconsin Supreme

Court Justice Brian Hagedorn ruled against the Trump Campaign in several lawsuits, Trump

Campaign supporters have sent him threatening and “dark messages” wherein he has been called

a “traitor,” “liar,” and “fraud,” and been threatened with being “tried for treason by a military

tribunal.1618

        34.     33.On information and belief, election officials and volunteers in other states were

also subjected to threats of violence by supporters of former President Trump. The Arizona

Secretary of State received threats via email, social media, and phone. The Nevada Secretary of




1315
     https://www.newsweek.com/wisconsin-gop-chair-says-republicans-are-trying-disenfranchise-
people-amid-post-election-turmoil-1549633.
1416
     https://www.npr.org/sections/biden-transition-updates/2020/12/01/940961602/someones-
going-to-get-killed-ga-official-blasts-gop-silence-on-election-threats.
1517
     Id.
1618
     https://www.nytimes.com/2020/12/20/us/politics/wisconsin-justice-brian-hagedorn.html.
                                                 12
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State’s office received a voicemail that said, in part, “You guys are f*****g dead.” In Michigan,

a supporter of former President Trump supporter interrupted a Zoom meeting and threatened to

rape election officials’ mothers.1719   Armed Trump supporters also gathered outside of the

Michigan Secretary of State Jocelyn Benson’s home at night.1820

       35.     The onslaught of threats and intimidation directed at election officials

following the 2020 presidential election has led to an exodus of election officials as they retire

early or simply quit.21 A recent poll of election officials revealed that nearly two-thirds of

election officials are worried about political leaders’ interfering with how they do their jobs

in future elections, and nearly one in five fear that they will face pressure to certify election

results in favor of a specific candidate or party.22

       36.     Given Defendants’ ongoing conduct, those fears are well-founded. One in six

election officials has experienced threats because of their job.23 In this fraught and

dangerous climate, twenty percent of election officials polled plan to leave before the 2024

election, in large part due to political leaders’ attacks.24 Thirty percent of officials know of




1719
    https://www.nbcnews.com/politics/elections/has-stop-harassed-threatened-gop-election-
officials-urge-party-leaders-n1249769.
1820 https://www.metrotimes.com/news-hits/archives/2020/12/07/armed-trump-supporters-

swarmed-michigan-secretary-of-states-house-at-night.
21 https://apnews.com/article/election-officials-retire-trump-2020-threats-misinformation-

3b810d8b3b3adee2ca409689788b863f.
22 https://www.brennancenter.org/our-work/analysis-opinion/attacks-against-election-

officials-are-taking-toll.
23 Brennan Ctr. for Justice, Local Election Officials Survey (March 2022), at 6, available at

https://www.brennancenter.org/our-work/research-reports/local-election-officials-survey-
march-2022.
24 https://www.brennancenter.org/our-work/analysis-opinion/attacks-against-election-

officials-are-taking-toll.
                                               13
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one or more election workers who already have left their jobs because of fear for their safety,

increased threats, or intimidation.25

        37.     34.The inappropriate pressure, physical aggression, and explicit threats of violence

that Defendants’ volunteers and supporters have directed to election officials, volunteers, and

judges during and after recounts—which were foreseeable results of the Defendants’ actions—

were intimidating and coercive, all in an attempt to disqualify legally cast ballots and to prevent

them from being counted.

 Defendants Violated The Voting Rights Act And the Ku Klux Klan Act By Attempting To
               Stop Vote Certification Through Intimidation and Coercion

        38.     35.After all the ballots were counted and a clear winner had been determined,

Defendants also actively called for officials to halt certification of election results in certain states.

Apart from public calls for delaying certification, Defendants directly contacted election officials

to delay certification. The most egregious example of this occurred in in Wayne County, Michigan

(the county in which Detroit is located).

        39.     36.President-Elect Joseph Biden carried the State of Michigan by over 150,000

votes, winning 2,804,040 votes (50.62%) compared to 2,649,852 votes for former President

Trump (47.84%).1926 In Wayne County, President-Elect Joseph                 Biden won 597,170 votes

compared to 264,553 votes for former President Trump.2027 That included a margin of over

200,000 votes in Detroit, Michigan.2128

        40.     37.Because former President Trump lost the popular vote in Michigan and other

states that were necessary for a majority of the electoral college, Defendants worked to block



25 Brennan Ctr. for Justice, Local Election Officials Survey at 19.
1926
     See https://mielections.us/election/results/2020GEN_CENR.html (last visited Dec. 21, 2020).
2027
     See https://www.waynecounty.com/elected/clerk/election-results.aspx.
2128
     https://detroitmi.gov/webapp/election-results.
                                                   14
       Case 1:20-cv-03388-EGS Document 55-3 Filed 06/16/22 Page 16 of 52




certification of the results on the (legally incorrect) theory that blocking certification would allow

state legislatures to override the will of the voters and choose the Trump Campaign’s slate of

electors.2229

        41.     38.On November 19, 2020, former President Trump’s personal lawyer, Rudy

Giuliani, and others held a press conference at the RNC headquarters in Washington, D.C., where

they repeated false allegations of fraud and openly discussed their strategy of disenfranchising

voters in Detroit and Wayne County. At that press conference, Mr. Giuliani asserted without

evidence that the Trump campaign had identified 300,000 “illegitimate ballots,” and stated: “These

ballots were all cast basically in Detroit that Biden won 80-20,” and “it changes the result of the

election in Michigan, if you take out Wayne County.”2330 Mr. Giuliani also focused on allegations

made by Detroit poll challengers seeking to stop the certification of Wayne County’s election

results, even though Wayne County Circuit Judge Timothy Kenny had already rejected the

plaintiffs’ “interpretation of events” in that case as “incorrect and not credible.”2431

        42.     39.Former President Trump announced Mr. Giuliani’s press conference in advance

on Twitter, stating: “Important News Conference today by lawyers on a very clear and viable path

to victory. Pieces are very nicely falling into place. RNC at 12:00 P.M.”2532 In another tweet prior

to the press conference, former President Trump falsely asserted: “Voter Fraud in Detroit is

rampant, and has been for many years!”2633



2229
     See, e.g., https://www.reuters.com/article/us-usa-election-trump-strategy/trumps-election-
power-play-persuade-republican-legislators-to-do-what-u-s-voters-did-not-idUSKBN27Z30G;
https://www.wsj.com/articles/what-is-trumps-legal-strategy-try-to-block-certification-of-biden-
victory-in-states-11605138852.
2330
     https://www.detroitnews.com/story/news/politics/2020/11/19/rudy-giuliani-targets-wayne-
county-raising-claims-judge-found-not-credible/6341765002/.
2431
     Id.
2532
     https://twitter.com/realDonaldTrump/status/1329408856733184008.
2633
     https://twitter.com/realDonaldTrump/status/1329405682706247683.
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       43.     40.The RNC then retweeted a clip of the press conference on its official Twitter

feed. Specifically, the RNC retweeted a clip of a portion of remarks by Sidney Powell, then-

identified as a Trump Campaign lawyer, asserting that the 2020 election had involved “the most

unpatriotic acts I can even imagine for people in this country to have participated in, in any way,

shape or form,” and that: “I want the American public to know right now that we will not be

intimidated. American patriots are fed up with the corruption from the local level, to the highest

level of our government. And we are going to take this country back . . . [A]nd, we are going to

reclaim the United States of America for the people who vote for freedom.”2734

       44.     41.Despite the overwhelming margin of President-Elect Joseph Biden’s victory in

Wayne County, and in Michigan as a whole, and the absence of any evidence of voter fraud, when

the Wayne County Board of Canvassers initially met to certify the County’s election results on

November 17, they initially deadlocked 2-2.

       45.     42.In declining to certify, the two Republican members of the canvassing board

pointed to concerns about minor discrepancies in which the number of voters who signed into poll

books did not match the number of ballots. But those minor discrepancies (which affected roughly

400 ballots out of the hundreds of thousands cast in Wayne County) are common and provide no

basis for declining to certify election results. Indeed, the same Board certified the results of the

2016 presidential election and August primary notwithstanding similar discrepancies.2835 As

explained by the office of Michigan’s Secretary of State: such discrepancies are “common in

Michigan and across the nation,” and “[t]here are many reasons why this can occur: for example,




2734
   https://twitter.com/gop/status/1329490975266398210?lang=en.
2835
   See https://www.detroitnews.com/story/news/politics/2020/11/17/wayne-county-canvassers-
deadlock-certifying-november-3-election-results/6324274002/.
                                                16
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a voter being checked in at the right polling place but the wrong precinct, or a voter checking in

but leaving with their ballot if the line was long.”2936

        46.     43.During the meeting, one of the Republican canvassers said she would be open

to certifying the rest of Wayne County (which is predominately white) but not Detroit (which is

predominately Black), even though those other areas of Wayne County had similar discrepancies

and in at least one predominantly white city, Livonia, the discrepancies were more significant than

those in Detroit.3037

        47.     44.After the 2-2 vote was reported, former President Trump tweeted a message

stating: “Wow! Michigan just refused to certify the election results! Having courage is a beautiful

thing. The USA stands proud!”3138 And the Michigan Republican Party Chairwoman, Laura Cox,

issued a statement saying: “I am proud that, due to the efforts of the Michigan Republican Party,

the Republican National Committee and the Trump Campaign, enough evidence of irregularities

and potential voter fraud was uncovered resulting in the Wayne County Board of Canvassers

refusing to certify their election results.”3239

        48.     RNC Chairwoman McDaniel amplified these statements, publicly questioning

the integrity of the Michigan election results and of Detroit election officials without

providing any evidence to support those claims.40



2936
     https://www.bridgemi.com/michigan-government/gop-canvassers-want-do-over-wayne-
county-results-too-late-experts-say.
3037
     See https://www.freep.com/story/news/local/ michigan/wayne/2020/11/19/wayne-canvassing-
board-monica-palmer-william-hartmann/3770140001/.
3138
     https://www.detroitnews.com/story/news/politics/2020/11/17/wayne-county-canvassers-
deadlock-certifying-november-3-election-results/6324274002/.
3239
     https://www.freep.com/story/news/local/michigan/wayne/2020/11/19/wayne-canvassing-
board-monica-palmer-william-hartmann/3770140001/.
40 https://www.michigan.gov/sos/0,4670,7-127-93094-544676--,00.html; https://

www.freep.com/story/news/politics/elections/2020/11/06/mcdaniel-claims-election-misconduct-
michigan-without-presenting-proof/6185731002/.
                                                   17
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        49.     45.However, after widespread public outcry during the meeting, the two

Republican canvassers on the Wayne County Board of Canvassers reversed course and voted to

certify the results later that evening.3341

        50.     46.Following the meeting of the Wayne County Board, former President Trump

personally called both Republican canvassers.3442 After speaking with former President Trump,

the two canvassers provided affidavits to the Trump Campaign in a suit that it had filed in the

Western District of Michigan.3543

        51.     47.In those affidavits, the canvassers stated that, despite their votes to certify, they

were opposed to certifying the Wayne County results. There was no mechanism under state law

for them to rescind those votes after the results were certified. Nonetheless, the Trump Campaign

filed a notice to withdraw its federal suit, relying on the affidavits and falsely asserting: “The

Wayne County board of canvassers met and declined to certify the results of the presidential

election.” Donald J. Trump for President v. Benson, 1:20-cv-01083 (W.D. Mich.), ECF No. 33 &

Exs. A, B. In fact, as discussed, the Wayne County Board of Canvassers did certify the results of

the presidential election.

        52.     48.Former President Trump also summoned Mike Shirkey and Lee Chatfield, the

respective leaders of the Michigan State Senate and State House, to meet with him in Washington.

Even though a spokeswoman for Senator Shirkey has acknowledged that “Michigan law does not

include a provision for the Legislature to directly select electors or to award electors to anyone

other than the person who received the most votes,” they both accepted that invitation and met




3341
     See id.
3442
     See https://apnews.com/article/trump-allies-try-overturn-biden-victory-
29da6aac9cc41e47f3095855e7af7031.
3543
     Id.
                                                  18
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with him at the White House.3644 Lawyers working on former President Trump’s effort to overturn

the election results also called in to that meeting.3745 On information and belief, former President

Trump, Senator Shirkey, and Representative Chatfield discussed the Michigan election results at

that meeting.3846

       53.     49.Ahead of their final certification meeting, the State Board of Canvassers faced

tremendous pressure from Republican activists and former President Trump not to certify the

official county results.3947 Former President Trump himself tweeted on the Wednesday before this

meeting: “The Great State of Michigan, with votes being far greater than the number of people

who voted, cannot certify the election. The Democrats cheated big time, and got caught. A

Republican WIN!”4048 Ronna McDaniel and Laura Cox, the respective chairpersons of the RNC

and the Michigan Republican Party, sent a letter to the State Board of Canvassers urging them to

delay certification to audit Wayne County results.4149 As the chairman of the Michigan Republican

Party, Laura Cox is a member of the RNC.4250




3644
     See https://www.nytimes.com/2020/11/19/us/politics/trump-michigan-election.html;
https://www.dailypress.net/news/local-news/2020/11/trump-invites-mich-gop-leaders-to-white-
house/.
3745
     See https://www.politico.com/news/2020/12/21/trump-pressure-campaign-overturn-election-
449486.
3846
     See id.
3947
     See https://patch.com/michigan/across-mi/michigan-gop-canvassers-under-pressure-ignore-
votes.
4048
     https://twitter.com/realDonaldTrump/status/1329093126238203905.
4149
     See https://www.migop.org/joint_letter_from_ronna_mcdaniel_and_laura_cox.
4250
     https://prod-cdn-static.gop.com/media/documents/2016-Republican-Rules-
Reformatted2018_1533138132.pdf?_ga=2.149031222.1425528050.1608523646-
105743898.1607070929, at rule no. 1(a).
                                                19
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       54.     Former President Trump’s campaign team further pressured Michigan

officials to give the Trump legal team custody of voting machines used in particular Michigan

counties.51

       55.     50.In addition to pressuring Michigan canvassers during the certification process,

former President Trump reportedly asked aides what officials he could call in other battleground

states in his effort to prevent the certification of his loss to President-Elect Joseph Biden.4352

       56.     A key adviser to Donald Trump’s legal team in its efforts to overturn the 2020

presidential election provided January 6 investigators with a written plan titled

“STRATEGIC COMMUNICATIONS PLAN - GIULIANI PRESIDENTIAL LEGAL

DEFENSE TEAM” that called for organizing “rallies and protests” in Arizona, Georgia,

Michigan, Nevada, Pennsylvania, and Wisconsin, including at the homes of “local officials”

and secretaries of state.53 The plan specifically named two Georgia election workers, falsely

accusing them of election law violations. After their names were disclosed in this written

plan, both workers were threatened and harassed by Trump supporters. One of the workers

was forced to flee her home for months after it was surrounded by a mob, and the other had

Trump supporters attempt to force their way into her grandmother’s home.54

       57.     51.As Republican Senator, and former presidential candidate, Mitt Romney

explained on November 19, 2020: “Having failed to make even a plausible case of widespread




51 https://www.washingtonpost.com/investigations/2022/02/09/giuliani-antrim-prosecutor-
voting-machines/; https://thehill.com/policy/national-security/593529-michigan-prosecutor-
says-giuliani-asked-him-to-get-voting-machines.
4352
     See https://www.nytimes.com/2020/11/19/us/politics/trump-michigan-election.html.
53 https://www.politico.com/news/2021/12/31/kerik-documents-jan-6-committee-526297;

https://www.politico.com/f/?id=0000017e-132a-dca7-a1ff-b33b8afd0000.
54 https://www.independent.co.uk/news/world/americas/us-politics/donald-trump-documents-

election-harassment-b1985982.html.
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fraud or conspiracy before any court of law, the President has now resorted to overt pressure on

state and local officials to subvert the will of the people and overturn the election. It is difficult to

imagine a worse, more undemocratic action by a sitting American President.”4455

        58.     52.Yet, former President Trump persisted. On November 26, 2020, he publicly

referred to Georgia’s Secretary of State Brad Raffensperger, whose office presided over the

recount of Georgia’s election and certified President-Elect Biden’s victory there, as “really, really

an enemy of the people.”4556 When Gabriel Sterling, a Republican official in Secretary

Raffensperger’s office implored the President to stop fostering rhetoric and threats against

elections workers on December 1, 2020, former President Trump responded by doubling down,

tweeting: “Rigged Election. Show signatures and envelopes. Expose the massive voter fraud in

Georgia. What is Secretary of State and [Georgia Governor] @BrianKempGA afraid of. They

know what we’ll find!!!”4657 On December 5, 2020, former President Trump called Governor

Kemp, pressuring him to somehow overturn the election result in Georgia.4758 After Governor

Kemp refused, former President Trump amplified a tweet from attorney Lin Wood (who had filed

a frivolous federal challenge to Georgia’s election results), saying former President Trump “gave

@BrianKempGA & @GaSecofState every chance to get it right. They refused. They will soon be

going to jail.”4859




4455
     https://www.cnn.com/2020/11/19/politics/mitt-romney-ben-sasse-trump/index.html.
4556
     https://www.cbs46.com/news/trump-calls-ga-secretary-of-state-enemy-of-the-
people/article_917de492-30c5-11eb-a89b-6f888a101160.html.
4657
     https://www.cbs46.com/news/secy-of-state-raffensperger-backs-aide-as-trump-refuses-to-
back-down/article_03a446bc-34a2-11eb-bf4f-e3771e83791c.html.
4758
     https://www.washingtonpost.com/politics/trump-kemp-call-georgia/2020/12/05/fd8d677c-
3721-11eb-8d38-6aea1adb3839_story.html.
4859
     https://www.newsweek.com/donald-trump-shares-tweet-georgia-governor-secretary-state-
going-jail-1554846.
                                                   21
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       59.    On January 2, 2021, former President Trump called Secretary Raffensperger

and pressured him to “find 11,780 votes,” and threatened him with a “criminal offense” if

he declined to do so.60 Former President Trump and his advisers, including private attorney

Cleta Mitchell,61 specifically urged Raffensperger to advance a baseless claim that hundreds

of thousands of ballots mysteriously appeared in Fulton County, which includes Atlanta.62

Raffensperger has since described that call as a “threat.”63

       60.    Recently released records also show that around the same time, former

President Trump placed two calls to Clint Hickman, Chair of the Maricopa County, Arizona

Board of Supervisors.64 Former President Trump’s then-personal lawyer Rudy Giuliani

also called Mr. Hickman and three other supervisors on the Maricopa County Board of

Supervisors, including to leave a voicemail to Supervisor Bill Gates saying, “Maybe we can

get this thing fixed up.”65 Additionally, in text messages sent shortly after the election,

Arizona Republican Party Chairwoman and RNC member Dr. Kelli Ward told Mr.

Hickman, “We need you to stop the counting.”66



60 https://www.washingtonpost.com/politics/trump-raffensperger-call-transcript-georgia-
vote/2021/01/03/2768e0cc-4ddd-11eb-83e3-322644d82356_story.html; https://apnews.com/
article/election-2020-joe-biden-donald-trump-georgia-elections-a7b4aa4d8ce3bf52301ddbe620
c6bff6.
61 https://www.npr.org/2021/01/06/953823383/attorney-on-call-with-trump-and-georgia-

officials-resigns-from-law-firm; https://january6th.house.gov/sites/democrats.january6th.
house.gov/files/2022-3-1.BGT%20Letter%20to%20Mitchell%20-%20Cover%20Letter%20
and%20Schedule_Redacted.pdf.
62 https://apnews.com/article/election-2020-joe-biden-donald-trump-georgia-elections-a7b4aa4

d8ce3bf52301ddbe620c6bff6.
63 https://apnews.com/article/donald-trump-joe-biden-arts-and-entertainment-elections-

georgia-2b27f4c92919556bf6548117648693b7.
64 https://www.12news.com/article/news/politics/stop-the-counting-records-show-trump-and-

allies-pressured-top-maricopa-county-officials-over-election-results/75-61a93e63-36c4-4137-
b65e-d3f8bde846a7.
65 Id.
66 Id.


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       61.    53.Similarly, in the first week of December 2020, former President Trump twice

called the speaker of Pennsylvania’s House of Representatives, Bryan Cutler, seeking to overturn

the result of the election in Pennsylvania.4967 Speaker Cutler informed former President Trump

that the Pennsylvania legislature has no authority to overturn the result of the election, but he

subsequently joined about 60 Republican lawmakers who sent a letter to Pennsylvania’s

congressional representatives urging them to object to the state’s electors when their votes are

were counted in Congress on January 6, 2021.5068

       62.    Former President Trump also exerted pressure on the Department of Justice

in his attempts to overturn the election results. Former President Trump made near-daily

outreach to former Acting Attorney General Jeff Rosen and former Acting Deputy Attorney

General Richard Donoghue to put pressure on them after former Attorney General Bill Barr

left DOJ.69 For example, on a December 27, 2020 call with Rosen, former President Trump

pressed Rosen to falsely state the election was “illegal” and “corrupt.”70 Trump also forced

U.S. Attorney for the Northern District of Georgia Byung Jin Pak to resign because former

President Trump believed Pak was not doing enough to support his false claims of election

fraud in Georgia, and then went outside the line of succession to appoint an Acting U.S.

Attorney whom former President Trump believed would “do something” about his election

fraud claims.71



4967
     https://www.washingtonpost.com/politics/trump-pennsylvania-speaker-
call/2020/12/07/d65fe8c4-38bf-11eb-98c4-25dc9f4987e8_story.html.
5068
     See id.
69 https://www.washingtonpost.com/national-security/trump-rosen-election-calls/2021/07/28/

43106ab6-efd6-11eb-bf80-e3877d9c5f06_story.html.
70 https://www.theguardian.com/us-news/2021/dec/24/donald-trump-charges-capitol-attack-

obstruct-congress.
71 https://lailluminator.com/2021/10/08/u-s-attorney-in-georgia-quit-under-pressure-from-

trump-to-reject-election-results-new-report-confirms/.
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       63.     54.State Republican parties reinforced former President Trump’s overt pressure on

state and local elected officials to not certify the election. In Arizona, former President Trump’s

attorneys and campaign aides reportedly spent weeks pressuring Governor Doug Ducey to echo

former President Trump’s false claims about election fraud and cast doubt upon the State’s

results.5172 After Governor Ducey refused and signed documents certifying President-Elect

Biden’s victory on November 30, 2020, former President Trump sent a series of angry tweets

about Governor Ducey.5273 Several days later, he met with Dr. Kelli Ward, chair of the Arizona

Republican Party, at the White House.5374

       64.     Defendants encouraged Arizona state officials to conduct an audit of the

state’s election returns, amplifying prior baseless allegations of misconduct.75 Despite the

audit’s findings that Arizona’s electoral results were correctly tabulated, confirming

President Biden’s win, former President Trump continued to amplify accusations of

wrongdoing and undermine public confidence in the results.76

       65.     55.In its official Twitter account, the Arizona Republican Party’s (“ARP”) called

on Arizona officials to not certify the election results. On November 30, the ARP tweeted out “DO

NOT CERTIFY[.] A FALSE ELECTION!”5477 The state of Arizona certified the election on

November 30. As of December 21, 2020, even in light of the certification results, the ARP’s “DO

NOT CERTIFY” tweet remained pinned to the top of the ARP’s Twitter feed. On December 4, the



5172
     See https://www.politico.com/news/2020/12/21/trump-pressure-campaign-overturn-election-
449486.
5273
     See id.
5374
     See id.
75 https://thehill.com/homenews/campaign/573798-trump-blames-media-after-arizona-audit-

finds-biden-won.
76 https://www.reuters.com/world/us/arizona-republicans-release-findings-widely-panned-

election-audit-2021-09-24/.
5477
     https://twitter.com/AZGOP/status/1333477057876156418.
                                                24
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ARP tweeted, “THEY want to silence YOU!”5578 Unsatisfied with the election certification, on

December 8, the ARP responded to a supporter of the pro-Trump group, Stop the Steal. The

supporter tweeted, “I am willing to give my life for this fight,” to which the ARP responded with,

“He is. Are you?”5679 Later that day, the ARP, in a since deleted tweet, shared a clip from the 2008

film Rambo using the following quote: “This is what we do, who we are. Live for nothing or die

for something.”5780

         66.   56.On information and belief, the RNC oversees the activities of state Republican

parties, but it has done nothing to remove or disavow these tweets from the Arizona Republican

Party.

         67.   57.Even after the Electoral College met on December 14 , 2020 to confirm the

popular vote and President-Elect Biden and Vice President-Elect Harris’s victory, Trump

Campaign representatives and state Republican party officials have continued to take actions and

amplify messaging that propagate Defendants’ baseless fraud assertions, all of which are designed

to undermine the will of the People and disenfranchise voters. Defendants had and have every

reason to know these assertions are baseless. Indeed, testimony before the House January 6

Committee has included “a parade of insiders in Donald Trump’s White House describing

how they each told Trump in the wake of his 2020 loss that there was no credible evidence

the election had been stolen.”81 Former Trump Campaign manager Bill Stepien testified that

he thought the groundless voter fraud allegations were not “necessarily honest or




5578
     https://twitter.com/AZGOP/status/1335046033869426688.
5679
     https://www.cbsnews.com/news/arizona-republican-party-overturn-election-results-death/.
5780
     Id.
81 https://www.washingtonpost.com/national-security/2022/06/13/house-panel-set-examine-

trumps-persistent-lies-2nd-hearing/.
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professional.”82 Trump Campaign general counsel Matthew Morgan testified that the

Trump Campaign’s legal team concluded within weeks of the election that any fraud

allegations were “not sufficient” to reverse Biden’s victory.83 In late 2020, then-Attorney

General Bill Barr told former President Trump that the claims of election fraud were

“completely bogus and silly,” “crazy stuff,” and “bullshit” entirely unsupported by evidence

and that he wanted no part of them.84 Knowing that the claims are baseless has not stopped

Defendants from repeating those claims in service of their efforts to interfere with past and

future elections. For example, on June 13, 2022, former President Trump released a 12-page

statement baselessly denouncing the January 6 Committee as illegal; most of the statement

was dedicated to repeating his false claims that the 2020 presidential election was rigged in

battleground states and elsewhere, including making conspiracy theory allegations against

Meta CEO Mark Zuckerberg and calling for Zuckerberg’s criminal prosecution.85

       68.    In the wake of the November 2020 election, former President Trump and his

legal team proactively sought to organize so-called “alternate slates of electors,” that is,

people who were not validly appointed electors but who were willing to declare that their

states’ electoral votes should go to President Trump.86



82 Id.
83 Id.
84 https://www.nytimes.com/2022/06/09/us/bill-bar-testimony-trump-january-6.html; https://

www.businessinsider.com/jan-6-hearing-video-barr-calling-trumps-election-claims-bullshit-
2022-6.
85 https://www.businessinsider.com/trump-statement-12-pages-bashes-jan-6-investigation-

2022-6; https://cdn.nucleusfiles.com/e7/e746fae9-7a5f-462d-a0dd-dd9a11895451/statement-
by-president-donald-j.-trump.pdf?utm_medium=email&utm_source=ncl_amplify&
utm_campaign=20220613-statement_by_donald_j_trump._45th_president_of_
the_united_states_of_america&utm_content=ncl-WeyXbMHzvA&_nlid=WeyXbMHzvA&
_nhids=DR5ps6bKKK.
86 https://www.nytimes.com/2022/02/02/us/politics/trump-jan-6-memos.html; https://www.cnn.

com/2022/01/25/politics/fake-trump-electoral-certificates-justice-department/index.html.
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       69.    At the request of the Trump Administration and Trump Campaign officials,

attorneys Jenna Ellis and John Eastman authored two memoranda (“Eastman

Memoranda”)87 outlining an extensive plan whereby then-Vice President Pence, under his

purported Twelfth Amendment authority, would find certain states’ submitted election

results illegitimate and rely instead on “alternate slates of electors” to declare a Trump

victory.88

       70.    The Eastman memoranda set out multiple legally baseless scenarios by which

then-Vice President Pence could have declared that the Electoral Count Act encroached on

his purported Twelfth Amendment authority and, on that basis, could have disregarded the

Act’s procedures for counting state electoral votes. The Eastman memoranda asserted that

then-Vice President Pence could have invalidated the electoral results of several states,

including Nevada, Arizona, and Michigan. In one scenario, the Eastman memoranda

asserted that then-Vice President Pence could have proceeded by counting only the electoral

college votes of the remaining “valid” electors, resulting in a Trump victory. In another

scenario, the Eastman memoranda asserted that then-Vice President Pence could have relied

on “alternate slates of electors,” certified by state legislatures, to declare a Trump victory.89

       71.    In still another scenario, the Eastman memoranda asserted that then-Vice

President Pence could have determined that the exclusion of “invalid” state votes so reduced

the number of valid electoral college votes such that neither candidate achieved the necessary




87 For simplicity, this complaint presents the Eastman memoranda together, as “the
memoranda” or “the Eastman memoranda.”
88 See https://www.cnn.com/2021/09/21/politics/read-eastman-memo/index.html.
89 Id.


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electoral college majority, and submit the matter to the House of Representatives to

undertake the constitutional “tie-breaking” procedure.90

       72.    The efforts described in these memoranda were not merely speculative. Still-

emerging information confirms that Defendants took affirmative efforts, and acted in

concert, to identify individuals to serve in the “alternate slates of electors” described in the

Eastman Memoranda. Emerging facts allege this effort involved Defendants, including

members of former President Trump’s administration, campaign team, and legal team, in

addition to state Republican committees under the organizational supervision of the RNC.

Emerging facts further indicate these efforts were orchestrated by Defendants working from

Washington, D.C.91

       73.    The strategies described in the memoranda each relied on the bogus assertion

that the official 2020 election results, in several states, were illegitimate. Eastman’s

subsequent statements indicate this approach could only work if there were enough public

distrust in the actual, official results of the Presidential election to justify overturning

President Biden’s election.92 As described elsewhere in this complaint, Defendants acted in

concert to incite widespread public distrust in the actual election results, including

affirmative efforts to prepare the “alternate slates of electors” necessary to at least one

strategy outlined in these memoranda.

       74.    The House Select Committee investigating January 6 recently issued

subpoenas to individuals who agreed to serve on “alternate slates of electors.” Identified



90 Id.
91 https://www.cnn.com/2022/01/25/politics/fake-trump-electoral-certificates-justice-
department/index.html.
92 https://www.politico.com/news/2022/05/26/eastman-said-dueling-electors-were-dead-on-

arrival-without-state-legislature-backing-00035634.
                                              28
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individuals “seated” on or “slated” for these slates of “alternate electors” include current

and former state Republican Party Chairs, National Committeemen, and National

Committeewomen from Arizona, New Mexico, Pennsylvania, Wisconsin, Michigan, Georgia,

and Arizona—positions which make them members of the RNC.93

       75.    These requests were coordinated by the Trump Campaign, acting in concert

with state RNC officials. Recent testimony by David Shafer, Chairman of the Georgia

Republican Party and RNC member, revealed that the Trump Campaign directly

coordinated the creation of “alternate slates of electors,”94 and Michigan Republican Party

co-chair Meshawn Maddock has publicly described being asked to serve as an alternate

elector by members of former President Trump’s team.95

       76.    The Trump Campaign wanted these “alternate electors” to act in “complete

secrecy.”96 According to recent reporting and testimony, the Georgia “alternates” were

prohibited from speaking with the media or other statehouse officials, and were instructed

to give State Capitol security a pretext for their visit to the state Legislature upon entry.97

       77.    These “alternate electors” met on December 14, 2020, the same date each

state’s actual, lawful electors met to cast and submit electoral college votes, represented by



93 https://lailluminator.com/2022/01/31/trumps-fake-electors-heres-the-full-list/; https://
gop.com/about-our-party/rnc-members/.
94 https://www.cnn.com/2022/02/25/politics/georgia-gop-chair-january-6-committee-trump-

campaign/index.html.
95 https://www.nytimes.com/2022/01/28/us/politics/jan-6-committee-trump-electors.html;

https://www.freep.com/story/news/local/michigan/detroit/2022/01/20/meshawn-maddock-
donald-trump-fake-electors-cnn-audio/6599607001/; https://www.detroitnews.com/
story/news/politics/2022/01/20/michigan-gop-meshawn-maddock-trump-campaign-asked-gop-
electors/6600843001/; https://www.washingtonpost.com/investigations/electors-giuliani-trump-
electoral-college/2022/01/20/687e3698-7587-11ec-8b0a-bcfab800c430_story.html.
96 https://www.washingtonpost.com/politics/2022/06/06/fake-trump-electors-ga-told-shroud-

plans-secrecy-email-shows/.
97 Id.


                                               29
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named electors, for President Biden.98 These “alternate electors” sent false election

certificates to Congress submitting their respective states’ electoral college votes for former

President Trump.99

       78.    Former President Trump’s attorney Rudolph Giuliani submitted these

alternate slates of electors to the National Archives in Washington, D.C.100

       79.    58.Last week, In December 2020, former President Trump discussed seizing

voting machines as an additional means to continue the Trump Campaign’s investigation into

purported voter “fraud.”58101 Mr. Giuliani also reportedly contacted Ken Cuccinelli, second in

command at the Department of Homeland Security (“DHS”), and asked him about DHS seizing

voting machines.59102

       80.    The January 6 Committee is investigating a draft order created by former

President Trump’s legal team, instructing military personnel to seize voting machines after

the 2020 election.103 The executive order contemplates the need to “preserve evidence” of

votes in advance of legal challenge.104

       81.    59.General Michael Flynn was briefly former President Trump’s national security

advisor before being convicted of lying to the FBI and then pardoned by then-President Trump.

After publicly suggesting that then-President Trump impose martial law to overturn the result of



98 https://www.nytimes.com/2022/01/28/us/politics/jan-6-committee-trump-electors.html.
99 Id.
100 https://wisconsinexaminer.com/2022/02/02/trumps-fake-electors-heres-the-full-list/.
58101
      https://www.axios.com/giuliani-homeland-security-seize-voting-machines-4ee2e575-e32c-
46a2-9f0b-fd80dd63049c.html.
59102
      https://www.unilad.co.uk/news/giuliani-presses-homeland-security-to-seize-voting-
machines-in-attempt-to-overturn-election-results.
103 https://www.cbsnews.com/news/voting-machines-seize-executive-order-january-6-

committee/.
104 Id.; https://www.politico.com/news/2022/01/21/read-the-never-issued-trump-order-that-

would-have-seized-voting-machines-527572.
                                              30
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the election and seize voting machines,60105 he was invited to a meeting in the Oval Office on

December 18, 2020. This December 18 meeting also included former President Trump, Ms.

Powell, Mr. Giuliani (by phone), and White House officials.61106

        82.    60.On December 19, 2020, Dr. Kelli Ward, then and now the current chair of the

Arizona Republican Party and a member of the RNC, tweeted out the following: “Mr. President

@realDonaldTrump – we are with you in #Arizona. We are working every avenue to stop this

coup & to stop our Republic from crumbing. Patriots are united. Those who are against us are

exposing themselves. #Liberty & #freedom are on the line. #CrossTheRubicon @GenFlynn.”62107

This tweet, endorsing General Flynn’s call for military intervention, was later amplified and

retweeted by General Flynn.63108

Defendants’ Volunteer Recruitment And Training Encouraged Volunteers And Supporters
        To Intimidate And Attempt To Coerce Election Officials And Volunteers

        83.    61.Defendants’ efforts to recruit and train volunteers for the 2020 election cycle

delivered inconsistent, incomplete, and sometimes aggressive messaging that gave way to and

resulted in their supporters intimidating and attempting to coerce election officials to slow and stop

vote counts.

        84.    62.One of the primary mechanisms Defendants used for recruiting volunteers for

election-related activities was ArmyForTrump.com. Defendants encouraged its “army of

supporters” to “fight with President Trump!” and to “fight[] to re-elect [President Trump] in




60105
      https://www.businessinsider.com/michael-flynn-trump-military-martial-law-overturn-
election-2020-12.
61106
      https://www.usatoday.com/story/news/politics/elections/2020/12/19/trump-sydney-powell-
special-counsel-michael-flynn-matial-law/3978054001/.
62107
      https://twitter.com/kelliwardaz/status/1340475397666836480.
63108
      https://twitter.com/GenFlynn/status/1340611262196137985.
                                                 31
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2020.”64109 In its list of volunteer opportunities, ArmyForTrump encouraged its army to “enlist,”

as opposed to signing up.65110 Trump Victory offered similar messaging: “Become a member of

the Trump Victory Team’s exclusive group of grassroots supporters and help us FIGHT BACK

against the Radical Socialist Democrats.”66111

        85.    63.On information and belief, after Defendants’ volunteers “enlistenlisted,” they

are were required to participate in a training before engaging in certain election-related activities.

The RNC produced training videos for volunteers to watch.67112 For example, the training for

Georgia appears to be only about 15 minutes long and covers a variety of topics including “poll

watchers,” “dos and don’ts,” “polling process,” and “issues to monitor.”68113

        86.    64.The training video lists and quotes various election laws and regulations; it does

not, however, explore what those rules look like in practice. The video and training deprive

volunteers of the tools to properly act as poll watchers. On information and belief, the RNC also

produced and distributed similar training videos for volunteers in Wisconsin, Michigan, and other

battleground states.

        87.    65.In addition to limited explanation of rules and regulations, the training video

encourages volunteer poll watchers to wear “Official ‘Poll Watcher’” badges.69114 Badges and

other items that give the impression that volunteers are official state actors were prohibited by a

consent decree the RNC had entered in 1982, which remained in place through 2017, as a result of

improper conduct the RNC had encouraged its poll watchers to engage in. Finally, the RNC’s



64109
       https://www.armyfortrump.com/.
65110
       Id.
66111
      https://trumpvictory.com/volunteers/.
67112
       See e.g., https://www.youtube.com/watch?v=6fWeQXtoBZ4&feature=emb_logo (Georgia-
specific training).
68113
       Id.
69114
       Id.
                                                 32
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video directed the following language at volunteers: “Through your presence at the polls you will

deter mismanagement and deliberate attacks that could sway the overall results of the

election.”70115 This language, like the “Army for Trump” language, presupposes conflict.

          88.    66.Defendants’ failure to properly train volunteers it they recruited, and their ever-

present messaging encouraging supporters and volunteers to “fight” allowed and encouraged

inappropriate behavior, including intimidation and coercion, at polling places and recount sites.

        The Defendants Have Acted In Concert To Encourage Intimidation And Attempted
                          Coercion Of Election Officials Volunteers

          89.    67.During and after the 2020 election cycle, Defendants have acted in concert to

execute a seamless election strategy. After the 2016 election, former President Trump, the Trump

Campaign, and the RNC merged their field and fundraising efforts together under the “Trump

Victory” banner, which resulted in shared operational overhead, including office space and staff.

According to RNC Chairwoman Ronna McDaniel, Trump Victory was to be “the biggest, most

efficient and unified campaign operation in American history.”71116

          90.    68.Since From late 2016 and through November 23, 2020, Trump Victory has

raised at least $366 million dollars. Of the total raised, approximately $197 million has gone went

directly to the RNC, more than $57 million has gone went to the Trump Campaign and former

President Trump, approximately $1.6 million went to the Republican Party of Michigan,

approximately $920,000 went to the Republican Party of Wisconsin, and $3.24 million went to the

Republican Party of Arizona.72117 The Republican Federal Committee of Pennsylvania has

received more than $1.2 million, the Nevada Republican Central Committee has received




70115
      Id.
71116
      See https://www.politico.com/story/2018/12/18/trump-machine-swallows-rnc-1067875.
72117
      https://www.opensecrets.org/jfc/summary.php?id=C00618389&cycle=2020.
                                                  33
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approximately $958,000, and the Republican Party of Georgia had received approximately $2.1

million.73118

        91.     69.In addition to functioning as an operational hub for the Trump Campaign and

the RNC during the 2020 election cycle, Trump Victory also served as a recruitment tool for

campaign volunteers. The training opportunities and events offered through TrumpVictory.com

included opportunities to engage in poll monitoring activities and post-election vote counting

monitoring efforts, including the vote counting efforts in Wisconsin and Georgia.74119

TrumpVictory.com also currently offers offered opportunities to volunteer for the January 5,

2021 Georgia run-off election, to be held on January 5, 2021, an election of which former

President Trump is was not a partcandidate.75120

        92.     70.The marketing surrounding these efforts was designed to prime volunteers to

expect fraudulent activities at the polls and used military language suggesting that volunteers

would need to actively work to ensure the integrity of the election. As discussed above, the prime

example of this is the Trump Campaign’s “Army for Trump” which refers to Trump Campaign

volunteers as members of an “army” who would need to “enlist” and “fight.”76121

        93.     71.Apart from sharing operational and financial resources, these Defendants also

spoke on behalf of and supported each other in the public eye. For example, the RNC frequently

endorsed and amplified material from and in support of former President Trump and the Trump

Campaign. Before and after Election Day, the RNC repeatedly retweeted material from the Trump

Campaign’s official account (@TeamTrump), including multiple links to the Trump Campaign’s



73118
      Id.
74119
      See https://www.cnbc.com/2020/11/09/trump-recount-fight-rnc-shifting-wisconsin-staff-to-
georgia-senate-battle.html.
75120
      https://trumpvictory.com/.
76121
      https://www.armyfortrump.com/.
                                               34
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purported fraud hotline77122 and statements from Trump and his Campaign alleging widespread

irregularities and fraud.78123 Approximately twenty times between November 4 and November 20,

2020, the RNC’s official Twitter feed, @GOP, tweeted or retweeted a secure.winred.com

fundraising link showing an image of Trump and including the claim that “THE DEMOCRATS

WILL TRY TO STEAL THIS ELECTION!”79124 On November 4, 2020, the RNC retweeted a

tweet from RNC Chairwoman Ronna McDaniel, @GOPChairwoman, that included the

secure.winred.com link and that said, “Our team is already fighting hard on the ground in

battleground states. We need all the help we can get to defend the integrity of this election. Thank

you for your support!”80125 A November 5, 2020 RNC tweet included the secure.winred.com link

and claimed: “The Left wants to undermine this Election, and we need YOU to FIGHT BACK!

Contribute now!”81126 A November 6, 2020 RNC tweet containing the secure.winred.com link

said, “Stop the FRAUD! Donate today to ensure @realDonaldTrump has the resources he needs

to FIGHT this corruption!”82127 A November 14, 2020 RNC tweet including the secure.winred.com

link said, “Our team is working around the clock to make sure every LEGALLY cast ballot is

counted. We need YOU to help us have the resources to FIGHT BACK against potential voter

fraud.”83128

        94.    72.Finally, as discussed above, the RNC hosted the Trump Campaign’s legal team’s

November 19, 2020, press conference at its headquarters in Washington, DC, and the RNC



77122
      See, e.g., https://twitter.com/TeamTrump/status/1328074040070770688?s=20 (Nov. 15,
2020); https://twitter.com/TeamTrump/status/1323696696778387456 (Nov. 3, 2020).
78123
      See, e.g., https://twitter.com/TeamTrump/status/1325118559467397121?s=20 (Nov. 7,
2020).
79124
      See, e.g., https://twitter.com/GOP/status/1325487696857485312?s=20?.
80125
      https://twitter.com/GOPChairwoman/status/1324090396033601541?s=20A.
81126
      https://twitter.com/GOP/status/1324445432211263488?s=20.
82127
      https://twitter.com/GOP/status/1324854254058823680?s=20.
83128
      https://twitter.com/GOP/status/1327702874227421193?s=20.
                                                35
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amplified a clip of that press conference in which Sidney Powell referred to supposed unpatriotic

activities in the November election and promised to take the country back.

  Defendants Actively Encouraged Interference with Congress’s Certification of Election
                                        Results

       95.    On December 19, 2020, former President Trump announced plans to hold the

“Save America” rally in Washington, D.C., on January 6, 2021, the date a joint session of

Congress was set to convene in the U.S. Capitol to certify President Biden’s electoral vote

win.

       96.    Former President Trump and the Trump Campaign organized the rally,

selected speakers, and made direct payments of $3.5 million to rally organizers.129

       97.    After the announcement, supporters turned to several pro-Trump message

boards sites and social media groups to discuss the rally. Former President Trump and his

advisors actively monitored these sites.130 Several individuals called former President

Trump’s announcement “marching orders” and explicitly discussed plans to attend the rally,

“storm and occupy Congress,” or begin “Operation Occupy the Capitol.”131 Tweet and

message-board discussions about former President Trump’s announcement further

propagated the hashtag “#OccupyCapitol.”132




129 https://www.opensecrets.org/news/2021/02/jan-6-protests-trump-operation-paid-3p5mil/.
130 https://www.independent.co.uk/voices/trump-dan-scavino-white-house-insiders-capitol-
b1786148.html.
131 https://ent.siteintelgroup.com/Far-Right-/-Far-Left-Threat/how-a-trump-tweet-sparked-

plots-strategizing-to-storm-and-occupy-capitol-with-handcuffs-and-zip-ties.html;
https://www.nbcnews.com/tech/internet/extremists-made-little-secret-ambitions-occupy-
capital-weeks-attack-n1253499.
132 https://www.newsweek.com/exclusive-secret-service-intel-saw-no-indication-civil-

disobedience-1661331.
                                               36
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       98.     Trump campaign associates further publicized the announcement and

encouraged supporters to attend the rally. For example, Donald Trump, Jr. posted a video

on Instagram urging followers to “Be Brave” and “Do Something.”133

       99.     At the rally, speakers organized by the Trump campaign invoked and

amplified the militaristic rhetoric the Trump campaign and RNC had been propagating over

the course of the prior several months.

       100.    For example, Rudy Giuliani urged the crowd to “vindicate” the “stolen”

election to “save our republic,” and explicitly called for “trial by combat.”134 Donald Trump,

Jr. directed the crowd’s attention to toward the ongoing certification process in the U.S.

Congress, apparently warning Congress members that if the election is certified, “we’re

coming for you, and we’re gonna have a good time doing it.”135

       101.    In his remarks, former President Trump told the crowd, “We will never give

up. We will never concede,” and that “we’re going to the Capitol” to give legislators “the

kind of pride and boldness that they need to take back our country.”136 Former President

Trump urged the crowd to “fight like hell [or] you’re not going to have a country

anymore.”137




133 https://www.instagram.com/tv/CJrtdcog7d0/?igshid=YmMyMTA2M2Y=.
134 https://www.rev.com/blog/transcripts/rudy-giuliani-speech-transcript-at-trumps-
washington-d-c-rally-wants-trial-by-combat;
https://www.washingtonpost.com/politics/2021/01/06/lets-have-trial-by-combat-how-trump-
allies-egged-violent-scenes-wednesday/.
135 https://www.chicagotribune.com/columns/ct-ent-storming-capitol-drama-20210106-

g4nhz5b3dzgjjmd4uhjr7haljy-story.html.
136 https://www.npr.org/2022/01/05/1069977469/a-timeline-of-how-the-jan-6-attack-unfolded-

including-who-said-what-and-when.
137 https://www.theguardian.com/us-news/2021/dec/24/donald-trump-charges-capitol-attack-

obstruct-congress.
                                             37
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       102.   Former President Trump further stated that “we will stop the steal” and

subsequently provided the crowd with two possible means to do so.138 First, referring to the

Vice President’s role on the ongoing certification process at the Capitol, former President

Trump said “Mike Pence is going to have to come through for us.”139 Second, former

President Trump told the crowd “after this, we’re going to walk down--- and I’ll be there

with you… We’re going to walk down… to the Capitol… We have come to demand that

Congress do the right thing and only count the electors who have been lawfully slated…. I

know that everyone here will soon be marching over to the Capitol building.”140

       103.   Former President Trump further remarked that if the election results are

nonetheless certified to reflect President Biden’s electoral victory, “you will have an

illegitimate president…and we can’t let that happen.”141

       104.   Less than thirty minutes after former President Trump finished his

inflammatory speech, an insurrectionist mob at the Capitol overcame the police and broke

through the police barricades.142 Then, insurrectionists broke windows of the Capitol

building, climbed into the Capitol, and opened doors so others could enter.143 Rioters broke

into the Senate chamber and into lawmakers’ offices.144 Others swarmed and overwhelmed




138 https://www.npr.org/2021/02/10/966396848/read-trumps-jan-6-speech-a-key-part-of-
impeachment-trial.
139 Id.
140 Id.
141 Id.
142 https://www.npr.org/2022/01/05/1069977469/a-timeline-of-how-the-jan-6-attack-unfolded-

including-who-said-what-and-when.
143 https://www.npr.org/2022/01/05/1069977469/a-timeline-of-how-the-jan-6-attack-unfolded-

including-who-said-what-and-when.
144 Id.


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the Capitol Police officers guarding the Speaker’s Lobby where lawmakers were sheltered.145

They broke windows in an attempt to force their way in. 146

       105.   As a result of the mob swarming the Capitol, the joint session was interrupted.

The Senate and House were called to recess, the building went into lockdown, and Pence,

Pelosi, and other lawmakers were escorted away for their safety.147 The certification of the

election results could not continue until order was restored hours later.

       106.   The rioters were armed with guns, knives, bats, pepper spray, stolen police

shields, and other items such as a stun gun, a rebar, a hockey stick, and a flagpole.148 The

rioters in the Capitol were heard chanting “hang Mike Pence.”149 Others were chanting

“Break it down! Break it down!”150 A Capitol Police officer shot one rioter trying to climb

into the Speaker’s Lobby. At least seven people lost their lives in connection with the January

6 insurrection, including one Capitol Police officer who was overpowered and beaten by the

mob.151 A police officer described it as “a war scene,” stating that “[t]here were officers on

the ground. They were bleeding, they were throwing up. I mean, I saw friends with blood all

over their faces. I was slipping in people’s blood.”152




145 Id.
146 Id.
147 Id.
148 https://www.cnn.com/2021/07/28/politics/armed-insurrection-january-6-guns-fact-

check/index.html.
149 https://www.cnn.com/2021/01/15/politics/pence-mob-us-capitol-january-6/index.html.
150 https://www.npr.org/2022/01/05/1069977469/a-timeline-of-how-the-jan-6-attack-unfolded-

including-who-said-what-and-when.
151 https://www.nytimes.com/2022/01/05/us/politics/jan-6-capitol-deaths.html.
152 https://www.nbcnews.com/politics/donald-trump/-was-slipping-peoples-blood-police-

officer-describes-battling-rioters-rcna32903.
                                               39
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       107.    Later in the day, Maryland and Virginia sent National Guard and state

troopers to the District of Columbia. Almost five hours after the rioting began, police began

to clear the Capitol and secure the interior.153

       108.    As events at the Capitol unfolded, former President Trump did not recant any

of his claims about election fraud. Instead, he continued to tweet baseless claims about

election fraud. He accused Pence of lacking “courage” and tweeted that “these are the things

and events that happen when a sacred landslide election victory” had been “unceremoniously

& viciously stripped away.”154

       Defendants Are Likely To Engage In Similar Election Activities In The Future

       109.    73.Defendants’ conduct during the 2020 election cycle, including their efforts to

disenfranchise voters by attempting to slow and halt vote counts and by attempting to prevent vote

certification in cities with large numbers of Black residents, is an extension and continuation of

the same types of conduct that resulted in a previous consent decree.

       110.    74.In 1982, the RNC entered into a court-approved consent decree with the

Democratic National Committee (“DNC”) after the DNC sued the RNC for its operations during

the New Jersey election in 1981, which included targeting minority neighborhoods by hiring off-

duty law enforcement officers to patrol polling sites.84155 The consent decree remained in effect

for approximately 35 years from 1982 until 2017 because the RNC engaged in other practices to

intimidate, discourage, and disenfranchise Black voters in federal elections. See, e.g., Democratic

Nat. Comm. v. Republican Nat. Comm., 671 F. Supp. 2d 575, 579–83 (D.N.J. 2009), aff’d, 673



153 https://www.npr.org/2022/01/05/1069977469/a-timeline-of-how-the-jan-6-attack-unfolded-
including-who-said-what-and-when.
154 Id.
84155
      Consent Order, Democratic Nat’l Comm. v. Republican Nat’l Comm., Case No. 2:81-cv-
03876 (D. N.J.), Nov. 1, 1982.
                                                40
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F.3d 192 (3d Cir. 2012). During the period that the consent decree was in effect, it protected voters

by, for example, prohibiting the RNC from engaging in certain activities which could have the

effect of intimidating, harassing, discriminating, or otherwise disrupting the election process. Upon

its expiration, however, the RNC, although bound by the VRA, was permitted to resume all of its

election-related activities without court supervision. The 2020 presidential election highlighted,

and its aftermath continues to highlight, how, absent injunctive relief, the RNC and the rest of the

Defendants will continue to violate the VRA.

       111.    While the 2020 presidential election is over, Defendants’ efforts to overturn its

results are ongoing. Former President Trump, actively aided by the other Defendants,

continues to try to overturn the 2020 presidential election, and all Defendants are working

together to lay the groundwork to interfere in future elections. This conduct—including

intimidation and the incitement of intimidations—is harming Plaintiffs now by imperiling

their right to have their 2020 votes remain counted, by weakening electoral mechanisms

designed to ensure free and fair elections, and by systematically laying the groundwork for

widespread intimidation of voters and election officials in the 2022 midterm elections and

beyond. Absent injunctive relief, including court supervision of Defendants’ future election-

related activities, Defendants will likely continue to violate the VRA and the Ku Klux Klan

Act and attempt to disenfranchise Plaintiffs and other Black voters through illegal means.

Absent court intervention, Defendants will continue to harm voters.

       112.    As recently as March 2022, former President Trump’s allies met with

Wisconsin Assembly Speaker Robin Vos and attempted to pressure him to nullify the 2020




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election results, which Speaker Voss is not legally permitted to do.156 Following the meeting,

former President Trump announced that “Speaker Vos should do the right thing and correct

the Crime of the Century—immediately! It is my opinion that other states will be doing this,

Wisconsin should lead the way!”157

       113.    In March 2022, Alabama Representative Mo Brooks said that, behind the

scenes, former President Trump has been pressuring him and other lawmakers to overturn

the 2020 presidential election even though Representative Brooks made clear that there is no

legal basis for doing so.158 “He always brings up, ‘we’ve got to rescind the election. We got

to take Joe Biden down and put me in now.’”159

       114.    Former President Trump has called for Michigan to elect a “new Legislature”

in 2022 to attack the 2020 election results and has endorsed several Michigan officials who

were involved in efforts to overturn the state’s 2020 results.160 Former President Trump has

endorsed or provided financial support to candidates in other states that have expressed

similar interest in once again trying to overturn the 2020 election results.161

       115.    75.While the 2020 presidential election is over, Defendants’ conduct indicates

that they will likely engage in similar activities for the foreseeable future and in the immediate

future. This is particularly true given former President Trump’s reported interest in campaigning




156 https://abcnews.go.com/Politics/trump-lawyer-amid-clash-jan-committee-pushing-decertify/
story?id=83965757.
157 Id.
158 https://www.cnn.com/2022/03/24/politics/mo-brooks-donald-trump-january-6-election/

index.html.
159 Id.
160 https://www.mlive.com/public-interest/2022/02/trump-gave-30k-to-michigan-republicans-

who-challenged-2020-election.html.
161 https://abcnews.go.com/Politics/republicans-continue-push-decertification-2020-

election/story?id=83794526.
                                               42
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for President in 2024 (he is apparently considering announcing his candidacy as early as this

summer, possibly on July 4), and the fact that he has as of December 2020, he had raised at

least $207.5 million since the election, a significant amount of which has been directed to former

President Trump’s new political action committee, Save America PAC.85162 And Defendant RNC

is involved in most elections for key offices. Absent injunctive relief, including court

supervision of Defendants’ future election-related activities, Defendants will likely continue

to violate the VRA and attempt to disenfranchise Plaintiffs and other Black voters through

illegal means. Absent court intervention, Defendants will continue to harm voters. Former

President Trump has continued to aggressively fundraise for a possible 2024 Presidential

campaign, bringing in large sums of money via a fundraising campaign that has pushed

“deceptive claims about corruption in the last election” and proclaimed that “Trump is the

true president.”163 Former President Trump has continued to claim that “our elections are

corrupt,” and he encouraged his supporters to hold “the biggest protest we have ever had”

if he disapproves of the direction of investigations into his actions or the January 6

insurrection.164 Former President Trump has indicated that if he were to regain the

Presidency in 2024, he would pardon the January 6 insurrectionists.165

        116.   Defendant RNC is involved in most elections for key offices, overseeing state

party operations. The RNC has continued to amplify false claims about the 2020 election.



85162
     https://www.politico.com/news/2020/12/01/trump-2024-presidential-run-442083;
https://www.politico.com/news/2020/12/03/trump-pac-fundraising-442775;
https://www.nbcnews.com/politics/donald-trump/trump-brink-rcna31774.
163 https://www.washingtonpost.com/politics/trump-fundraising/2021/10/29/5b5a2e64-31b1-

11ec-a1e5-07223c50280a_story.html.
164 https://thehill.com/homenews/administration/592009-trump-calls-for-biggest-protest-weve-

ever-had-if-prosecutors-do.
165 https://www.cnn.com/2022/02/02/politics/pete-aguilar-trump-january-6-pardons-

cnntv/index.html.
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RNC Chairwoman Ronna McDaniel has publicly stated there were “lots of problems with

the elections” and raised questions about the legitimacy of the results.166 On February 4,

2022, the RNC passed a resolution censuring Republican legislators involved in investigating

the January 6 insurrection. The resolution, defended by RNC Chair McDaniel, described the

insurrection as “legitimate political discourse,” and criticized the investigation as

“persecution of ordinary citizens.”167

       117.   Further, ahead of the 2022 midterm elections, the RNC and state Republican

organizations are undertaking large-scale “election integrity” efforts, spearheaded by

individuals who publicly encouraged interference and intimidation of officials involved with

the certification of the 2020 election results.168 These efforts aim to train and deploy poll

watchers and officially-designated poll workers to monitor elections on the ground, equipped

with pre-existing connections to the RNC’s election lawyers to facilitate ballot challenges.169

       118.   This effort is being led by former Trump advisor Cleta Mitchell, who

participated in the January 2021 call between former President Trump and Georgia

Secretary of State Brad Raffensperger. Recently released recordings of poll worker training

sessions confirm that these trainings continue the militaristic and adversarial character of

the 2020 efforts and frequently refer to the need to create an “army of volunteers,”

resembling the rhetoric of the 2020 intimidation efforts, describing the goal to create




166 https://www.huffpost.com/entry/mcdaniel-trump-election_n_61968854e4b0ae9a429da0ad
167 https://www.cnn.com/2022/02/04/politics/liz-cheney-adam-kinzinger-censure-
rnc/index.html; https://www.cnbc.com/2022/02/04/rnc-censures-liz-cheney-adam-kinzinger-
for-investigating-jan-6-pro-trump-riot.html;
https://www.nytimes.com/2022/02/08/us/politics/republicans-censure-mcconnell.html.
168 https://www.nytimes.com/2021/03/23/us/politics/republican-voter-laws.html.
169 https://www.politico.com/news/2022/06/01/gop-contest-elections-tapes-00035758.


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“fighters,”170 build “an army” of poll workers,171 and target their tactics depending on

whether a given county or state election official is a “friend or foe.”172 The recordings also

show that the RNC’s Director of “Election Integrity” in Michigan outlined a plan to install

party-trained volunteers prepared to challenge voters at polling places with large numbers

of voters of color, including Detroit; establish relationships with local attorneys, law

enforcement officers, and judges to facilitate the volunteers’ work; and develop a network

of friendly district attorneys who could intervene to block vote counts at certain precincts.173

Election watchdog groups and legal experts say that the likely consequence of the RNC’s

heavily recruiting people who falsely believe the 2020 election was stolen to fill positions that

should be held by unbiased officials could create chaos in the targeted precincts, many of

which, including Detroit, have large numbers of voters of color.174 In May 2022, the “Election

Integrity Network” held a summit in Detroit with trainings that featured political figures

who have made false claims of fraud in the 2020 election.175 Republicans in Wayne County

have also nominated a member of the Board of Canvassers who said he would not have

certified the results of the 2020 election.176

       119.    In the course of these efforts, the Michigan Republican Party has funded a

website to recruit potential poll watchers that lists among its “sponsors” groups that have




170 https://www.nytimes.com/2022/05/30/us/politics/republican-poll-monitors-election-activists.
html.
171 https://www.politico.com/news/2022/06/01/gop-contest-elections-tapes-00035758.
172 https://www.nytimes.com/2022/05/30/us/politics/republican-poll-monitors-election-activists.

html.
173 https://www.politico.com/news/2022/06/01/gop-contest-elections-tapes-00035758.
174 Id.
175 https://www.detroitnews.com/story/news/politics/2022/05/12/trump-allies-set-election-

integrity-summit-detroit/9746669002/.
176 https://www.politico.com/news/2022/06/01/gop-contest-elections-tapes-00035758.


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challenged the 2020 election results, and that have called the 2020 election “stolen,” an

“occupation,” or a “coup.”177 Michigan Republican Party Co-Chair and RNC member

Meshawn Maddock, herself an “alternate elector” in the effort to undermine Michigan’s

2020 election certification, is now involved in recruiting thousands of poll watchers to “flood

the system” in forthcoming elections.178 In Texas, state Republican officials have

administered virtual trainings likely to encourage poll watchers to assume that votes cast by

voters of color are presumptively illegitimate by instructing those poll watchers that “fraud

is occurring” in “densely populated, largely Black, Latino, and Asian neighborhoods.”179

       120.   Defendants’ ongoing efforts to prevent the orderly functioning of the electoral

system by baselessly undermining legitimate elections have already begun to affect 2022

elections. On June 15, 2022, the New Mexico Supreme Court had to issue a writ of mandamus

ordering the Otero County Commission to fulfill its nondiscretionary statutory obligation by

June 17, 2022 to “meet to approve the report of the canvass of the returns and declare the

results” of the 2022 primary election.180 Days earlier, the Otero County Commission had

voted unanimously against fulfilling that duty without identifying any specific discrepancies

that might explain that refusal.181 The commission, whose members include Cowboys for

Trump co-founder Couy Griffin, who was convicted of illegally entering restricted U.S.

Capitol grounds during the January 6 insurrection and who subscribes to former President



177 https://www.mlive.com/public-interest/2022/01/michigan-republicans-expand-recruitment-
of-poll-challengers-for-2022-elections.html.
178 https://www.mlive.com/public-interest/2022/01/one-year-after-jan-6-riot-michigan-election-

deniers-hold-more-influence-in-republican-politics.html.
179 https://www.nytimes.com/2021/05/01/us/politics/republican-pollwatchers.html.
180 https://www.kob.com/new-mexico/new-mexico-supreme-court-issues-writ-of-mandamus-

against-otero-county-commission/.
181 https://apnews.com/article/2022-midterm-elections-new-mexico-voting-election-recounts-

general-54745f2169166e82090d0f7bc1ddc1b2.
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Trump’s groundless claims to have won the 2020 presidential election, cited debunked

conspiracy theories that the Dominion voting machines used in the primary election were

somehow unreliable.182

                                     FIRST CAUSE OF ACTION
              (Violation of Section 11(b), 52 U.S.C. § 10307(b) of the Voting Rights Act)

            121.   76.All other allegations of this complaint are re-asserted and incorporated into this

cause of action.

            122.   77.Section 11(b) of the Voting Rights Act (“Section 11(b)”) provides: “No person,

whether acting under color of law or otherwise, shall intimidate, threaten, or coerce, or attempt to

intimidate, threaten, or coerce any person for voting or attempting to vote, or intimidate, threaten,

or coerce, or attempt to intimidate, threaten, or coerce any person for urging or aiding any person

to vote or attempt to vote.” 52 U.S.C. § 10307(b).

            123.   78.As set forth above, publicly available facts demonstrate that Defendants engaged

in or encouraged volunteers and supporters to engage in conduct intended to and that did result in

intimidation, harassment, and coercion of election officials as they performed their duties to count

and certify votes, worked to undermine the validity of the election without a legitimate basis to do

so, and impermissibly exerted pressure on state and local officials not to certify the results of

elections. These actions were directed at major metropolitan areas with large Black populations,

including Detroit and Milwaukee. Also as set forth above, Defendants’ past and present actions

indicate that they are likely to engage in such conduct in connection with upcoming elections

if they are not enjoined against doing so.




182   Id.
                                                    47
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       124.    79.Defendants’ Defendants’ past and present actions violate Section 11(b)

because their actions involved conduct that “intimidate[s], threaten[s], or coerce[s], or attempt[s]

to intimidate, threaten or coerce” people involved in “aiding person to vote or attempt to vote.” Id.

Under the Voting Rights Act, voting is specifically defined to include: “all action necessary to

make a vote effective in any . . . election, including, but not limited to . . . having such ballot

counted properly and included in the appropriate totals of votes cast with respect to candidates for

public or party office and propositions for which votes are received in an election.” 52 U.S.C. §

10310(c)(1).

       125.    80.By engaging in the conduct described above, by encouraging volunteers and

supporters to take the actions they did, and by exerting pressure on state and local officials in the

manner described above, Defendants have attempted to and did intimidate and or coerce state and

local officials from aiding Plaintiffs and other residents of Detroit, Milwaukee, and other major

cities with large Black populations from having their votes “counted properly and included in the

appropriate totals of votes cast.” Id. Defendants’ past and present actions indicate that they are

likely to engage in such conduct in connection with upcoming elections if they are not

enjoined from doing so.

                               SECOND CAUSE OF ACTION
         (Conspiracy to Interfere with Civil Rights in Violation of 42 U.S.C. § 1985(3))

       126.    81.All other allegations of this complaint are re-asserted and incorporated into this

cause of action.

       127.    82.The Ku Klux Klan Act prohibits two or more persons from conspiring to deny

“either directly or indirectly, any person or class of persons of the equal protection of the laws,” to

“prevent[] or hinder[] the constituted authorities of any State or Territory from giving or securing

to all persons within such State or Territory the equal protection of the laws,” or “to prevent by

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force, intimidation, or threat, any citizen who is lawfully entitled to vote, from giving his support

or advocacy in a legal manner, toward or in favor of the election of any lawfully qualified person

as an elector for President or Vice President, or as a Member of Congress of the United States.”

42 U.S.C. § 1985(3).

        128.    83.The foregoing conduct of the Defendants violates § 1985(3). By coordinating

their actions in an effort to pressure state and local officials to discard votes cast by Plaintiffs, their

constituents, and other voters in cities with large Black populations, Defendants engaged in a

conspiracy to deny the equal protection of the laws and to prevent Plaintiffs and others from giving

their support to electors for President and Vice President. Defendants have concertedly acted to

undermine confidence in the election results, including inciting, amplifying, and organizing

efforts by former President Trump’s supporters to take steps to interfere with the vote

counting, the slating of electors, and the final certification of the election.

        129.    84.As a result of this conspiracy, Plaintiff NAACP has been required to divert

resources to monitor Defendants’ activities and disseminate public education materials. If

Defendants are not enjoined from further actions in furtherance of this conspiracy, Plaintiff

NAACP will continue to be required to divert resources for the same reasons.

        130.    85.As a result of this conspiracy, Plaintiffs and their constituents have suffered

dignitary injuries by having their full citizenship undermined and by Defendants’ perpetuation of

the noxious myth that votes cast by in communities with large Black populations are more likely

to be fraudulent.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court:

       (A)     Declare that Defendants have engaged in conduct violating Section 11(b) of the

Voting Rights Act and 42 U.S.C. § 1985(3);

       (B)     Issue an injunction requiring Defendants, and anyone acting on behalf of

Defendants or in concert with them, to do the following:

   • Refrain from violating all federal and state laws protecting the rights of qualified citizens

       to vote;

   • Secure approval from this Court prior to engaging in any activities related to recounts,

       certifications, or similar post-election activities;

   • Refrain from intimidating or coercing state and local officials involved in counting votes,

       recounts, or the certification process;

   • Refrain from intimidating or coercing state, local, or federal officials to disregard any

       lawful votes or to overturn the result of an election;

   • Refrain from intimidating voters or obstructing voters from exercising their rights to vote;

       and

   • Train all official volunteers on the Voting Rights Act and on activities prohibited by the

       Voting Rights Act, with all training materials approved by the Court; and

       (C)     Award monetary damages.

       (D)     Grant such other relief as this Court may deem just and proper.

Dated: December 21June 16, 2020 2022




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                              Respectfully submitted,

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